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             Case 1:18-cv-11092-PGG Document 51 Filed 01/07/19 Page 1 of 1
                 Case 1:18-cv-11092-PGG Document 42 Filed 01/02/19 Page 1 of 1


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December 31, 2018

VIA HAND DELIVERY

Honorable Paul G. Gardephe
United States District Judge
U.S. District Court for the Southern District of New York
Thurgood Marshall U.S. Court House
40 Foley Square
New York, New York 10007


       RE:     Manchanda v. Matties et al., 18-CV-11092 (PGG)

Dear Judge Gardephe:

With respect to the above-identified proceeding, I am concurrently entering a notice of appearance
since it appears that I have been named as a defendant in this lawsuit. I do not believe I was properly
served by Plaintiff and I do not know the date of such alleged service. Since my current counsel has
also been named in this litigation, I am appearing pro se and separately filing a notice of appearance.

It appears that several of the named defendants have already requested and obtained an extension of
time to January 18, 2019 from the C0urt. I respectfully request that I receive an extension until January
31, 2019 to answer or otherwise respond to Plaintiff's complaint so that I am not in default despite the
attempted recent filings by Plaintiff. It is my understanding from Ms. Danielle Levine, Assistant U.S.
Attorney, that several of the parties who have already appeared before the Court are working on a
global stipulation of dismissal for all defendants - not just those who have entered notices of
appearance. I request that I also be included in the stipulation of dismissal and thus be removed from
this meritless vexatious litigation.

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